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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: March 11, 2020

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Detroit, MI 48207

Mr. Brian J. Farrar
Mr. Raymond J. Sterling
33 Bloomfield Hills Parkway, Suite 250
Bloomfield Hills, MI 48304

                     Re: Case No. 19-1763, Dennis Willard v. Huntington Ford, Inc.
                         Originating Case No. : 2:17-cv-14202

Dear Counsel,

   The court today announced its decision in the above-styled case.

    Enclosed is a copy of the court's opinion together with the judgment which has been entered
in conformity with Rule 36, Federal Rules of Appellate Procedure.

                                                 Yours very truly,

                                                 Deborah S. Hunt, Clerk



                                                 Cathryn Lovely
                                                 Deputy Clerk

cc: Mr. David J. Weaver

Enclosures

Mandate to issue.
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                                RECOMMENDED FOR PUBLICATION
                                Pursuant to Sixth Circuit I.O.P. 32.1(b)
                                       File Name: 20a0080p.06

                    UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT



 DENNIS J. WILLARD,                                          ┐
                                   Plaintiff-Appellant,      │
                                                             │
                                                              >        No. 19-1763
        v.                                                   │
                                                             │
                                                             │
 HUNTINGTON FORD, INC.,                                      │
                                  Defendant-Appellee.        │
                                                             ┘

                           Appeal from the United States District Court
                          for the Eastern District of Michigan at Detroit.
                      No. 2:17-cv-14202—Arthur J. Tarnow, District Judge.

                              Decided and Filed: March 11, 2020

                 Before: MOORE, KETHLEDGE, and BUSH, Circuit Judges.

                                      _________________

                                            COUNSEL

ON BRIEF: Raymond J. Sterling, Brian J. Farrar, STERLING ATTORNEYS AT LAW, P.C.,
Bloomfield Hills, Michigan, for Appellant. Lauren A. Saad, GARAN LUCOW MILLER, P.C.,
Detroit, Michigan, for Appellee.
                                      _________________

                                             OPINION
                                      _________________

       KAREN NELSON MOORE, Circuit Judge.                      Plaintiff-Appellant Dennis J. Willard
appeals the district court’s grant of Defendant-Appellee Huntington Ford, Inc.’s motion for
summary judgment on his age-discrimination claims brought under the Age Discrimination in
Employment Act of 1967 and Michigan’s Elliott-Larsen Civil Rights Act of 1976. Willard
claims that Huntington Ford terminated him because of his age after it fabricated a superficially
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legitimate reason to terminate him based on an incident between him and another coworker. The
district court failed to view the record in the light most favorable to Willard, leading it to
conclude erroneously that he did not offer indirect evidence of age discrimination. Therefore, we
REVERSE the district court’s judgment and REMAND for proceedings consistent with this
opinion.

                                         I. BACKGROUND1

        Dennis Willard is a successful, veteran car salesperson. Since 1997, he has worked in
automobile sales. R. 16-2 (Willard Dep. at 41) (Page ID #108). Willard spent about half of his
career, from February 2005 to December 2016, at Huntington Ford. Id. at 32, 49 (Page ID #106,
110). Although his performance during his tenure at Huntington Ford was average in some
respects, such as automobile-lease retention, he was known as an excellent deal closer with new
customers. R. 16-6 (Scoggin Dep. at 28) (Page ID #150); R 16-11 (Schiller Dep. at 58) (Page ID
#240) (“Great closer. Determined.”). For this reason, Willard was one of Huntington Ford’s top
salespersons. R. 16-6 (Scoggin Dep. at 28) (Page ID #150). Nationally, he performed within the
top 125 of 3,500 Ford Motor Company salespeople. R. 16-2 (Willard Dep. at 134) (Page ID
#132). He received prestigious awards from the Ford Motor Company and Huntington Ford in
recognition of his sales volume. Id. at 79 (Page ID #118); R. 16-11 (Schiller Dep. at 112–13)
(Page ID #253–54). Willard’s commission-based salary demonstrated his skill—while some of
his colleagues were earning roughly $40,000 annually, he was hitting $150,000.                    R. 16-2
(Willard Dep. at 70) (Page ID #116); R. 16-16 (Employment Application at 2) (Page ID #263);
R. 16-11 (Schiller Dep. at 26–27) (Page ID #232) (stating that car salespersons’ salaries were
based on commission).

        Willard’s success won him one of the most visible, and hence desirable, desks in the
dealership’s showroom, near the door where customers entered. See R. 16-11 (Schiller Dep. at
43, 76) (Page ID #236, 244); R. 16-7 (Malouf Dep. at 28) (Page ID #180). Willard took full
advantage of his location; he had no trouble walking up to customers as they came through the


       1We present the facts in the light most favorable to Willard as we must on Huntington Ford’s summary-
judgment motion. See infra, Part II.
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door. R. 16-7 (Malouf Dep. at 23) (Page ID #179); R. 16-8 (Calhoun Dep. at 33) (Page ID
#203). Nor was he bashful about pushing his customers’ paperwork through with Huntington
Ford’s support staff and insisting that his customers took top priority. R. 16-6 (Scoggin Dep. at
38) (Page ID #153); R. 16-11 (Schiller Dep. at 59–60) (Page ID #240).

        This created a reputation for Willard as both a focused, aggressive salesperson, see R. 16-
7 (Malouf Dep. at 23) (Page ID #179), and an “abrasive” “bully,” R. 16-6 (Scoggin Dep. at 12)
(Page ID #146). But dealership showroom floors are not tranquil or slow-moving; they are
anxiety-provoking and intense work environments that lend themselves to interpersonal friction,
even raised voices. See id. at 36 (Page ID #152) (“I think sometimes in the showroom floor . . .
the intensity amps up a little bit. . . . You know, when we get busy, I think sometimes the anxiety
level gets a little high.”); id. at 37 (Page ID #153) (“Q: Okay. Have you ever seen [co-worker
Kim Duley] raise her voice at any coworkers? A: I’m sure she has . . . [like] the vast majority of
the other people here. It gets busy.”).

        Despite his professional accomplishments, Willard faced “relentless” unwelcome and
inappropriate statements at Huntington Ford about his age and the imminence of his retirement
from Brad Schiller, the general manager, and from Willard’s direct supervisors, sales managers
Eric Calhoun and Tony Malouf. R. 16-2 (Willard Dep. at 89, 141) (Page ID #120, 133).2
Willard was born in 1953, making him about sixty-three at the time of his termination. See id. at
13 (Page ID #101). Willard was also the oldest full-time new-car salesperson at Huntington
Ford. See Sealed Ex. N, Jan. 2016 Employee Census at 1–3.3

        The ageist statements began when Schiller started to ask Willard when he was going to
retire. R. 16-2 (Willard Dep. at 135–36) (Page ID #132). Willard informed Schiller that he did
not intend to retire “anytime soon.” Id. Malouf and Calhoun also began asking Willard when he
would retire and used ageist insults against Willard, including “grandpa,” “dinosaur,” and “over
the hill.”    Id. at 136, 138, 146–47 (Page ID #132–33, 135).                     Calhoun favored younger


        2Schiller   supervised Calhoun and Malouf. R. 16-11 (Schiller Dep. at 9–11) (Page ID #228).
         3Only the sole part-time new-car salesperson was older than Willard; he was seventy-four. See id.; R. 16-
11 (Schiller Dep. at 17) (Page ID #230).
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salespeople, expediting their paperwork over Willard’s. Id. at 88–89, 146–47 (Page ID #120,
135). When Willard complained, Calhoun told Willard that if he did not like the way things
were, then he could leave, but that Calhoun did not “know too many people looking for a sixty-
five-year-old over-the-hill salesman like you.” Id. at 89 (Page ID #120). Malouf told Willard
repeatedly that he was “too old to be sitting by the door” and that “younger salesmen” should
have that position—a sentiment that he reiterated the week before Willard was terminated. Id. at
141–42 (Page ID #133–34). After this comment from Malouf, Willard went to Schiller to report
the harassing comments, but Schiller did not act—he told Willard to stop taking new customers.
Id. at 143 (Page ID #134).

       In February or March 2016, Schiller pressured Willard to put on a basketball jersey that
was too small and took a picture of him in it. Id. at 147 (Page ID #135). Afterwards, Schiller
showed the picture to their co-workers, laughing and stating, “look how old and fat Willie is.”
Id. at 148 (Page ID #135). Later, Willard learned that his picture was to serve as a model for a
caricature of a collegiate basketball player in an advertisement for Huntington Ford. Id. at 147
(Page ID #135).

       In his more than ten years at Huntington Ford, Willard was formally disciplined two
times, prior to the events at issue here. On February 3, 2011, Willard received a written
reprimand, an Employee Warning Notice, for cursing at Calhoun on the showroom floor. Sealed
Ex. C, Employee Warning Notice Feb. 3, 2011. He was sent home early and returned to work
the next day. Id.; R. 16-2 (Willard Dep. at 91) (Page ID #121). A year and a half later, on
August 7, 2012, Willard received an Employee Warning Notice for signing a customer’s
signature on a form, resulting in his suspension for the rest of the work day as well as the next
work day. Sealed Ex. D, Employee Warning Notice Aug. 7, 2012. The form was discovered,
and the customer was invited back to the dealership to fill out the form. R. 16-11 (Schiller Dep.
at 64) (Page ID #241). Willard returned to work the day after the suspension period ended. R.
16-2 (Willard Dep. at 95) (Page ID #122). Willard disputes that these disciplinary actions “were
justified.” Reply Br. at 12.

       It is unclear if a third incident resulted in formal discipline. In October 2014, Kim Duley,
a support staff member responsible for arranging automobile trades between Huntington Ford
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and other dealerships, went to the President of Huntington Ford, Patrick Scoggin, and told him
that she felt threatened by Willard. R. 16-6 (Scoggin Dep. at 30–34) (Page ID #151–52); R. 16-9
(Sheriff Case Report at 7) (Page ID #219). Scoggin characterized Duley’s account of Willard’s
conduct as “verbal intimidation.” R. 16-6 (Scoggin Dep. at 32) (Page ID #151). Scoggin and
Schiller had “a coaching moment [with Willard] as opposed to a disciplinary moment” about his
interactions with support staff. Id. at 31 (Page ID #151). But Scoggin described this incident as
a “verbal warning” in his personal notes documenting these events. R. 16-9 (Sheriff Case Report
at 7) (Page ID #219).4 There is no Employee Warning Notice for this incident. Duley had a
history of delaying the filing of Willard’s paperwork because of interpersonal acrimony between
them, and Willard regularly complained. R. 16-2 (Willard Dep. at 99–100) (Page ID #123).

        Willard’s final discipline came in December 2016, which resulted in his suspension and
later termination. Willard and Duley clashed on Wednesday, December 21, 2016. See R. 16-9
(Sheriff Case Report at 5) (Page ID #217). When one of Duley’s trades for Willard’s customer
fell through, he passive aggressively told Duley, “nice job on the dealer trade.” R. 16-2 (Willard
Dep. at 108) (Page ID #125).             It is undisputed that Duley lost her temper then—Schiller
described the altercation, writing that after hearing a “commotion” outside of his office,
“Kim Duley was backing Dennis Willard into my office and both were having a heated
argument. At this moment Kim was very much the aggressor.” Id. at 10 (Page #222). Schiller
also wrote that Duley escalated the situation. Id. (“I felt [Duley] very much added fuel to the fire
by getting in his face with her responses.”). Willard testified that Duley “came running [down
the] entire length of the showroom floor and pushed me right outside of Brad Schiller’s office,”
despite Willard’s protestations to Duley to “take your hands off me.” R. 16-2 (Willard Dep. at
106) (Page ID #125). She also “shoved” him when he was “standing . . . in a defensive posture.”
Id. at 122 (Page ID #129). It is disputed, however, whether Willard “behaved appropriately” that
day, including whether he yelled at Duley. Reply Br. at 10–11; see R. 16-9 (Sheriff Case Report
at 5–6) (Page ID #217–18); R. 16-6 (Scoggin Dep. at 51) (Page ID #156); R. 16-11 (Schiller
Dep. at 81, 91–92) (Page ID #246, 248).

        4The   word “coaching” is used inconsistently in the record. “Coaching” may refer to an informal and/or
verbal disciplinary action, but it is also used to mean encouraging and guiding salespersons as they go about their
work. See, e.g., R. 16-7 (Malouf Dep. at 37–38) (Page ID #183).
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        After the incident, several meetings occurred. First, Duley went to Scoggin to complain
about Willard. R. 16-6 (Scoggin Dep. at 39) (Page ID #153). She informed him that Willard
“got in her face” and that she would call the police. Id.5 Then, Duley and Scoggin met with
Schiller. Id. at 44 (Page ID #154). Schiller told Duley that her behavior was inappropriate.
R. 16-11 (Schiller Dep. at 81) (Page ID #246). At the end of the meeting, Duley resigned.
R. 16-6 (Scoggin Dep. at 44) (Page ID #154). Meanwhile, Willard went to Malouf to complain
about Duley’s performance. R. 16-7 (Malouf Dep. at 57–59) (Page ID #188). During this
meeting, Willard intended to put a deal jacket on Malouf’s desk, but missed the desk and picked
up the papers from the floor. R.16-2 (Willard Dep. at 109–10) (Page ID #125–26).

        Then, Scoggin, Schiller, Calhoun, and Malouf met to discuss Willard’s involvement in
the incident. R. 16-6 (Scoggin Dep. at 57–58) (Page ID #158). Calhoun and Malouf were asked
to document what they had witnessed. R. 16-8 (Calhoun Dep. at 8) (Page ID #196); R. 16-7
(Malouf Dep. at 56–57) (Page ID #187–88). Scoggin and Schiller decided to suspend Willard.
R. 16-6 (Scoggin Dep. at 54–55) (Page ID #157). Schiller wrote the corresponding Employee
Warning Notice. Id. at 57–58 (Page ID #158); see Sealed Ex. K, Employee Warning Notice
Dec. 21, 2016.

        Next, Willard met with Schiller and Scoggin. R. 16-6 (Scoggin Dep. at 53) (Page ID
#157). Schiller told Willard that he was suspended for a week for aggressive behavior. See
R. 16-2 (Willard Dep. at 124) (Page ID #129). When Schiller presented Willard with a copy of
the Employee Warning Notice, Willard saw that it did not state the length of his suspension or
his return date. Id. Willard refused to sign the Notice because it was incomplete and he
disagreed with the characterization of the events, and so Schiller refused to give him a copy of
the Notice. Id. at 124–25, 127 (Page ID #129–30). Scoggin and Schiller then escorted Willard
to his desk. R. 16-6 (Scoggin Dep. at 67) (Page ID #160). During this time, Willard called
Scoggin a “poor excuse of a human being.” Id. at 70 (Page ID #161).




        5Duley   did call the police. See R. 16-9 (Sheriff Case Report at 1) (Page ID #214). The police took no
action in response to Duley’s claims that Willard was intimidating her and came within two inches of her face or
Willard’s claims that Duley assaulted him. See id. at 5 (Page ID #218).
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        A full week later, on Wednesday, December 28, 2016, Willard returned to Huntington
Ford. R. 16-2 (Willard Dep. at 132) (Page ID #131). Upon his arrival, Willard met with
Scoggin and Schiller, who informed him that he had been terminated because he did not call in
or show up for work on Monday, December 26, 2016, or Tuesday, December 27, 2016. Id. at
133 (Page ID #131); R. 16-6 (Scoggin Dep. at 87) (Page ID #165). They told him that they were
also firing him because of his argument with Duley the week before and his ongoing issues with
coworkers. R. 16-11 (Schiller Dep. at 105) (Page ID #252). Scoggin and Schiller made the
decision to terminate Willard that Tuesday, the day after Huntington Ford asserts that Willard
was scheduled to return to work. Id. at 100–01 (Page ID #250–51).

        After his termination, Willard’s desk sat empty for a few weeks. See id. at 76–77 (Page
ID #244–45). Bob Brani, another salesperson, was moved to his desk. Id. at 77 (Page ID #245).
Brani was fifty-six at the time. See R. 19-4 (Jan. 2018 Employee Census at 2) (Page ID #448).
And about a month after Willard was terminated, Huntington Ford hired a man named Scott
Dewitt, who was fifty-two at the time, as a new-car salesperson. See id. at 3 (Page ID #449).

        Willard filed suit, alleging that Huntington Ford seized upon the incident with Duley and
misled him about the length of his suspension so that it could terminate him because of his age.
R. 1 (Compl. at 3–6) (Page ID #3–6). He brought two claims of age discrimination, one under
the Age Discrimination in Employment Act of 1967 (“ADEA”), 29 U.S.C. §§ 621–634, and one
under Michigan’s Elliott-Larsen Civil Rights Act of 1976 (“ELCRA”), MICH. COMP. LAWS
§§ 37.2101–2804. Id. at 6–8 (Page ID #6–8).6 Huntington Ford filed a motion for summary
judgment on both claims. R. 16 (Mot. for Summary J. at 1–3) (Page ID #62–64). The district
court held a hearing on June 25, 2019. R. 24 (Hr’g Tr. at 1) (Page ID #463). Because no written
opinion followed, we provide the relevant portion of the transcript where the district court ruled
from the bench:

        The Court: Okay. Well, I think we are all starting with the same standards. The
        law is the same in terms of direct evidence and circumstantial evidence. And I
        think I made it -- I haven’t made it clear, but from my questions -- well, first of

        6Willard administratively exhausted his claims with the Equal Employment Opportunity Commission.
R. 16-14 (EEOC Dismissal and Notice of Rights at 1–2) (Page ID #258–59).
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       all, do you both agree that -- on the law? That if it’s direct evidence you go down
       one path? If it’s circumstantial you go down a different path?
       [Plaintiff’s Counsel]: Yes, your Honor.
       [Defense Counsel]: Yes, your Honor.
       The Court: And there are various steps. We also agree that I have to look at the
       evidence most favorable and taken most favorably to the plaintiff. And I don’t
       think there is any direct evidence of age discrimination. I think the examples that
       you cite do not amount to [a] hostile work environment and, wisely, you didn’t
       raise that as a claim.
               In terms of circumstantial evidence, based on the record, I just don’t think
       that the plaintiff has rebutted or answered the reason that defense has given as a
       legitimate reason. The combination of the conduct and the argument with another
       long term employee and, most importantly, his failure to appear at the end of the
       suspension. The fact that he is now saying that he willfully maintained his
       ignorance by not signing the paper doesn’t help him and certainly would not help
       him in front of a jury in convincing [the jurors] that he should prevail. And,
       therefore, the Defendant’s motion is granted.

Id. at 24–25 (Page ID #486–87). The district court entered an order granting the motion “[f]or
the reasons stated on the record” and a judgment. R. 22 (Order) (Page ID #461); R. 23 (J.) (Page
ID #462). This timely appeal followed. See R. 25 (Notice of Appeal) (Page ID #489).

                                 II. STANDARD OF REVIEW

       We review de novo a district court’s decision to grant a motion for summary judgment.
Blizzard v. Marion Tech. Coll., 698 F.3d 275, 282 (6th Cir. 2012) (citing cases). We will affirm
the district court’s decision if “there is no genuine dispute as to any material fact and the movant
is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a). First, the moving party must
show that there are no genuine issues of material fact and that it is legally entitled to judgment.
Provenzano v. LCI Holdings, Inc., 663 F.3d 806, 811 (6th Cir. 2011) (citing Celotex Corp. v.
Catrett, 477 U.S. 317, 323 (1986)).       Then, the nonmoving party must “present sufficient
evidence to permit a reasonable jury to find in its favor.” Pierson v. QUAD/Graphics Printing
Corp., 749 F.3d 530, 536 (6th Cir. 2014) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
252 (1986)). Our ultimate question is “whether reasonable jurors could find by a preponderance
of the evidence that the [nonmoving] plaintiff is entitled to a verdict.” Anderson, 477 U.S. at
252. We must view all of the facts in the light most favorable to the nonmoving party and draw
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all justifiable inferences in the nonmoving party’s favor. Matsushita Elec. Indus. Co. v. Zenith
Radio Corp., 475 U.S. 574, 587 (1986); Anderson, 477 U.S. at 255. “Credibility determinations,
the weighing of the evidence, and the drawing of legitimate inferences from the facts are jury
functions, not those of a judge . . . .” Anderson, 477 U.S. at 255.

                           III. AGE-DISCRIMINATION CLAIMS

       At the outset, we note how much more difficult our review is without a written opinion
explaining the district court’s decision. This is especially troubling on a motion for summary
judgment, which is inherently fact-intensive. And when, as here, the nonmoving plaintiff has
“proffered evidence in support of its position and the district court yet awards summary
judgment against the non-moving party, our review of the district court’s conclusion that no
genuine issue of material fact remains is difficult, if not impossible, without a clear, written
explanation by the district court judge.” Terry Barr Sales Agency, Inc. v. All-Lock Co., 96 F.3d
174, 178 (6th Cir. 1996). District courts should endeavor to prepare written opinions because
“[t]his reviewing court, and more importantly, the parties, are much better served when . . . the
district court prepares a written opinion explaining its ruling and the reasoning, factual and legal,
in support, especially when the ruling disposes of the case in a final judgment.”           Peck v.
Bridgeport Machs., Inc., 237 F.3d 614, 617 (6th Cir. 2001). Nevertheless, we have done our due
diligence and carefully studied the hearing transcript and the record.

A. ADEA Claim

       Pursuant to the ADEA, employers may not terminate an individual “because of such
individual’s age.” 29 U.S.C. § 623(a)(1). A plaintiff may present either direct or indirect
evidence to prove an ADEA violation. Geiger v. Tower Auto., 579 F.3d 614, 620 (6th Cir. 2009)
(citing Martin v. Toledo Cardiology Consultants, Inc., 548 F.3d 405, 410 (6th Cir. 2008)).
No matter the type of evidence presented, the plaintiff retains the burden of persuasion to
demonstrate “by a preponderance of the evidence . . . that age was the ‘but-for’ cause of the
challenged employer decision.” Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 177–78 (2009)
(footnote omitted) (citing Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 141–43, 147
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(2000)). On appeal, Willard purports to offer both direct and indirect evidence that Huntington
Ford terminated him because of his age. Appellant Br. at 17, 21.

           Direct evidence is “evidence that proves the existence of a fact without requiring any
inferences.” Blair v. Henry Filters, Inc., 505 F.3d 517, 523 (6th Cir. 2007) (quoting Rowan v.
Lockheed Martin Energy Sys., Inc., 360 F.3d 544, 548 (6th Cir. 2004)), overruled on other
grounds by Gross, 557 U.S. at 180. Such evidence “requires the conclusion that age was the ‘but
for’ cause of the employment decision.” Scheick v. Tecumseh Pub. Schs., 766 F.3d 523, 530 (6th
Cir. 2014) (clarifying the inquiry post-Gross).7 In other words, direct evidence must “include[ ]
both a predisposition to discriminate and that the employer acted on that predisposition.” Id.
(citing DiCarlo v. Potter, 358 F.3d 408, 415 (6th Cir. 2004), overruled on other grounds by
Gross, 557 U.S. at 180). Willard argues that comments from Schiller, Calhoun, and Malouf are
direct evidence of age discrimination. These statements, a medley of ageist slurs and putdowns
tied to Willard’s position at Huntington Ford, arguably constitute direct evidence, but we need
not decide this issue because the comments are compelling circumstantial evidence that
Huntington Ford’s legitimate reasons for terminating Willard are pretextual. See infra Section
III.A.3.

           Indirect or circumstantial evidence “allow[s] a factfinder to draw a reasonable inference
that discrimination occurred.”          Geiger, 579 F.3d at 620 (quoting Wexler v. White’s Fine
Furniture, 317 F.3d 564, 570 (6th Cir. 2003)). ADEA claims relying on indirect evidence of age
discrimination are analyzed under the McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973),
burden-shifting framework. Pierson, 749 F.3d at 536 (citing McDonnell Douglas, 411 U.S. at
802–05).       First, the plaintiff must produce “evidence from which a reasonable jury could
conclude that he or she established a prima facie case of discrimination” before the burden shifts
to the employer to offer a legitimate, non-discriminatory reason for the adverse employment
action. Blair, 505 F.3d at 524 (citing Monette v. Elec. Data Sys. Corp., 90 F.3d 1173, 1186 (6th
Cir. 1996)). Then, the plaintiff must rebut the proffered reason by producing “evidence from a


           7Huntington
                     Ford argues that Willard fails to establish a prima facie case using direct evidence, Appellee
Br. at 15, but Gross eliminated the burden-of-persuasion-shifting framework for direct evidence cases under the
ADEA, Geiger, 579 F.3d at 621.
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which a reasonable jury could conclude that the proffered reason is actually a pretext for
unlawful discrimination.” Id. (citing Monette, 90 F.3d at 1186); see Provenzano, 663 F.3d at 812
(citing McDonnell Douglas, 411 U.S. at 802).

       As we have clarified before, the McDonnell Douglas burden-shifting framework allocates
“the burden of production and [provides] an order for the presentation of proof in [employment
discrimination] cases.” Provenzano, 663 F.3d at 812 (last alteration in original) (emphasis
added) (citing Cline v. Catholic Diocese of Toledo, 206 F.3d 651, 659 (6th Cir. 2000)). Thus, at
the first stage of the burden-shifting framework, we do not ask whether a jury could conclude
that the plaintiff has proven its prima facie case by preponderant evidence, but rather whether “a
reasonable jury could conclude that a prima facie case of discrimination has been established.”
Provenzano, 663 F.3d at 812 (quoting Macy v. Hopkins Cty. Sch. Bd. of Educ., 484 F.3d 357,
364 (6th Cir. 2007)). At the pretext stage, the plaintiff’s burden of production “merges” with his
ultimate burden of persuasion to show that age discrimination was the but-for cause of his
termination. Id. (quoting Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 256 (1981)); see
Blair, 505 F.3d at 524 (noting that although the burdens of production shift between the parties,
“[t]he ultimate burden of persuading the trier of fact that the defendant intentionally
discriminated against the plaintiff remains at all times with the plaintiff” (alteration in original)
(quoting Burdine, 450 U.S. at 253)).

       On appeal, Huntington Ford characterizes the district court’s ruling as one that Willard
“could not establish a prima facie case,” Appellee Br. at 15–16, even though the district court
rested its conclusion on Willard’s purported failure to demonstrate pretext, see R. 24 (Hr’g Tr. at
25) (Page ID #487) (“I just don’t think that the plaintiff has rebutted or answered the reason that
defense has given as a legitimate reason.”). In any event, we analyze each of the three stages of
the burden-shifting framework for claims based on indirect evidence, and we conclude that
Willard has shown a genuine issue of material fact as to whether he was intentionally
discriminated against because of his age.
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       1. Prima Facie Case

       A plaintiff establishes his prima facie case by showing that (1) he is a member of a
protected group, (2) he was qualified for the position in question, (3) his employer took an
adverse employment action against him, and (4) there are “circumstances that support an
inference of discrimination.” Blizzard, 698 F.3d at 283 (quoting Swierkiewicz v. Sorema N.A.,
534 U.S. 506, 510 (2002)). Relevant here, such circumstances include when the employer
replaced the plaintiff with a younger employee and when the employer “treated similarly
situated, non-protected employees more favorably.” Mickey v. Zeidler Tool & Die Co., 516 F.3d
516, 521–22 (6th Cir. 2008) (citing Tuttle v. Metro. Gov’t of Nashville, 474 F.3d 307, 317 (6th
Cir. 2007)). Willard was a member of a protected group because he was over the age of forty, id.
at 521; he was qualified for the position of new-car salesperson; and his termination was an
adverse employment action, and so only the fourth factor is disputed. See Appellant Br. at 23;
Appellee Br. at 30.

       The plaintiff’s burden to establish a prima facie case is light, one “easily met” and “not
onerous.” Provenzano, 663 F.3d at 813 (quoting Cline, 206 F.3d at 660). The sole function of
the prima facie stage of the burden-shifting framework is “to raise a rebuttable presumption of
discrimination by ‘eliminat[ing] the most common nondiscriminatory reasons for the
[employer’s treatment of the plaintiff],’” such as the plaintiff is unqualified for the position or
not a member of the protected group. Cline, 206 F.3d at 660 (alterations in original) (quoting
Hollins v. Atl. Co., 188 F.3d 652, 659 (6th Cir. 1999)). It is “not meant to stymie plaintiffs.” Id.
(citing Burdine, 450 U.S. at 253). We conclude that Willard has presented evidence to establish
the fourth factor of his prima facie case because he points to evidence that Huntington Ford
replaced him with a younger new-car salesperson after he was discharged and that younger
salespersons were treated better.

       First, Willard has offered enough evidence to permit a reasonable jury to conclude that he
was replaced by a younger salesperson—Dewitt. Willard was a new-car salesperson. Sealed Ex.
N, Jan. 2016 Employee Census at 1. Between January 2016 and January 2018, two new-car
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salespersons ceased working for Huntington Ford: Willard and Louis Sock,8 and three new-car
salespersons were hired: Dewitt, John Sawson, and Steven Rowe. Compare id. at 1–3 with R.
19-4 (Jan. 2018 Employee Census at 1–3) (Page ID #447–49). Sawson was hired on February
15, 2016; Rowe, on November 15, 2016; and Dewitt, on February 1, 2017. R. 19-4 (Jan. 2018
Employee Census at 1–3) (Page ID #447–49). To raise an inference of discrimination, Willard
need only point to employees who are significantly younger than he is. Blizzard, 698 F.3d at 284
(citing Grosjean v. First Energy Corp., 349 F.3d 332, 336 (6th Cir. 2003)) (stating that an age
difference of ten or more years is significant whereas a difference of less than six years is not).
All three newly hired new-car salespersons were at least ten years younger than Willard. See
R. 19-4 (Jan. 2018 Employee Census at 1–3) (Page ID #447–49) (noting Dewitt was born in
1965, Sawson, in 1981, and Rowe, in 1972). In the light most favorable to Willard, the evidence
shows that Sawson and Rowe were hired to replace Sock and as an additional, thirteenth new-car
salesperson, and that Willard was replaced by Dewitt in February 2017.

       Huntington Ford argues that Willard has not provided “documentary support” that Dewitt
replaced Willard, that Willard took much of his customer base with him and so Dewitt could not
have replaced Willard, and that Dewitt was hired too long after Willard’s discharge to be
Willard’s replacement. Appellee Br. at 30–31. None of these arguments prevail. As discussed
above, Willard provides documentary support that Dewitt replaced him, the Employee Censuses.

       And the relevant inquiry is whether Dewitt was hired to assume Willard’s
responsibilities, an inquiry which in this case is not coextensive with whether they had the same
customer base. Blizzard, 698 F.3d at 284 (“[A] ‘person is replaced only when another employee
is hired . . . to perform the plaintiff’s duties.’” (quoting Grosjean, 349 F.3d at 336)). Maintaining
a customer base is part of a new-car salesperson’s responsibilities, as is selling cars to customers
who walk through the door, examining vehicles, appraising vehicles, and reaching out to
potential new customers. See R. 16-11 (Schiller Dep. at 16, 73–74) (Page ID #229, 244). As
Schiller put it, the “[e]nd result is to sell a vehicle.” Id. at 57 (Page ID #240). Additionally,
Calhoun’s testimony that even if a salesperson considers a customer as “their customer,” “it’s a


       8We   do not know exactly when Sock stopped working for Huntington Ford.
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Huntington Ford customer” shows that Huntington Ford does not define new-car salesperson
responsibilities by a customer portfolio. R. 16-8 (Calhoun Dep. at 70–71) (Page ID #212).
There is nothing in the record that suggests that Huntington Ford defines new-car salespersons’
responsibilities by their customer base.9 By all accounts, it appears that all new-car salespersons
had the same responsibilities. Huntington Ford provides no record citation to the contrary.

         As to its last argument, Huntington Ford offers no legal support for its contention that a
month is too long of a gap between Willard’s termination and Dewitt’s hiring to indicate that
Willard was replaced by Dewitt. In Blizzard, we concluded that the employer replaced the
plaintiff who was fired in April 2008 with a person who was hired on a part-time basis in
November 2008 and on a full-time basis in July 2009. 698 F.3d at 282, 284 (“This conclusion is
not undermined by the fact that there was a lapse in time between Blizzard’s termination date
and Teeter’s hiring date.”). Given the time to post a job description, interview candidates, and
make a selection, a month is a short amount of time. If a month is too much time by Huntington
Ford’s account, what is not?

         Second, Willard has shown that he was treated less favorably than younger employees by
Calhoun.       Calhoun would process his paperwork more slowly than that of the younger
salespersons, which would have negatively impacted Willard’s ability to finalize sales.
Calhoun’s conduct is uncontroverted. And although we typically compare a plaintiff to specific
non-protected employees to determine whether the other employee is similarly situated in all
relevant respects, Ercegovich v. Goodyear Tire & Rubber Co., 154 F.3d 344, 352 (6th Cir.
1998), the only relevant respect here appears to be the position of new-car salesperson because
all new-car salespersons had paperwork that Calhoun must process to complete their sales.
R. 16-2 (Willard Dep. at 88–89) (Page ID #120) (stating that deals could not be finalized without
“the manager’s” signature and then referencing Calhoun). Therefore, it is not necessary for
Willard to point to a particular comparator. Calhoun’s preferential treatment “support[s] an



         9In some cases, it may make sense to define the responsibilities of a person in sales by their accounts, see
Blair, 505 F.3d at 522 (discussing a salesperson’s responsibilities as maintaining particular “accounts”), but in
others, it may not. Huntington Ford is free to proceed with this argument at trial.
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inference of discrimination” based on age at the prima facie stage. Blizzard, 698 F.3d at 283
(quoting Swierkiewicz, 534 U.S. at 510).

       For these reasons, we conclude that Willard has produced sufficient record evidence such
that a reasonable jury could conclude that he has met his prima facie burden.

       2. Legitimate, Non-Discriminatory Reason

       Next, the burden shifts to Huntington Ford to offer legitimate, non-discriminatory reasons
for Willard’s termination. Huntington Ford offers three. First, Willard did not show up for work
on Monday, December 26, 2016, and Tuesday, December 27, 2016, or call to explain his
absences. Second, Willard’s behavior on December 21, 2016 with Duley was sufficient alone to
justify his termination.   And third, Willard had previous written and verbal disciplinary
warnings. See Appellee Br. at 32. Huntington Ford has satisfied its burden.

       3. Pretext

       At this stage, Willard must demonstrate pretext and that he can meet his burden of
persuasion. “An employee may show that an employer’s proffered reason for terminating him
was pretext by demonstrating ‘that the proffered reason (1) has no basis in fact, (2) did not
actually motivate the defendant’s challenged conduct, or (3) was insufficient to warrant the
challenged conduct.’” Pierson, 749 F.3d at 539 (quoting Wexler, 317 F.3d at 576). At this stage
of the McDonnell Douglas burden-shifting framework, we examine all evidence that the plaintiff
has put forth—evidence from the prima facie stage, “evidence discrediting the defendant’s
proffered reason,” and “any additional evidence the plaintiff chooses to put forth.”         Blair,
505 F.3d at 532. We “consider all evidence in the light most favorable to the plaintiff, including
the evidence presented at the prima facie stage.” Provenzano, 663 F.3d at 812 (citing Peck v.
Elyria Foundry Co., 347 F. App’x 139, 145 (6th Cir. 2009)). The plaintiff must “produce
sufficient evidence from which a jury could reasonably reject [the defendant’s] explanation of
why it fired [him].” Chen v. Dow Chem. Co., 580 F.3d 394, 400 (6th Cir. 2009) (citing Mickey,
516 F.3d at 526). In order “to survive summary judgment, a plaintiff need only produce enough
evidence to . . . rebut, but not disprove, the defendant’s proffered rationale.” Blair, 505 F.3d at
532. At this stage, the plaintiff must show that he can meet his burden of persuasion to
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demonstrate impermissible bias was the but-for cause of his discharge. Provenzano, 663 F.3d at
812 (explaining that a plaintiff’s burden to demonstrate pretext “merges” with his ultimate
burden of persuasion (quoting Burdine, 450 U.S. at 256)); Pierson, 749 F.3d at 536 (quoting
Gross, 557 U.S. at 177).          Courts should be cautious in granting, and affirming, summary
judgment on discrimination claims when the plaintiff has made a prima facie case and a showing
of pretext because “an employer’s true motivations are particularly difficult to ascertain, thereby
frequently making such factual determinations unsuitable for disposition at the summary
judgment stage.”        Singfield v. Akron Metro. Hous. Auth., 389 F.3d 555, 564 (6th Cir.
2004) (citations omitted).

        Willard argues that Huntington Ford’s proffered reasons are pretextual. He points to
evidence challenging each reason and then provides general circumstantial evidence of age
discrimination, the ageist remarks and ageist incidents. Appellant Br. at 26–28. Considering all
of the record evidence that Willard has produced and drawing reasonable inferences in his favor,
a jury could reasonably reject Huntington Ford’s proffered reasons for terminating him and could
determine that his age was the but-for cause of his termination.

                 a. Failure to Show up or Call in

        Willard has pointed clearly to a genuine and material fact dispute regarding the length of
his suspension, leading to his tardy appearance on Wednesday, December 28, 2016, which
formed a basis for his termination. First, he argues that this justification had no basis in fact.10
Viewing the facts in the light most favorable to Willard, he was told that he was suspended for a
week, the Employee Warning Notice lacked a return date, he was not given an opportunity to
sign a complete Notice, he did not receive a copy of a complete Notice, and he did not receive a
copy of the Sheriff’s Case Report, which noted his return date, until December 27, 2016, R. 16-2
(Willard Dep. at 114) (Page ID #127). The district court failed to view the facts in the light most
favorable to Willard and instead judged Willard’s credibility and concluded that Willard
“willfully maintained his ignorance by not signing the paper.” R. 24 (Hr’g Tr. at 25) (Page ID

        10The     three-part test for pretext “need not be applied rigidly,” but rather “is a commonsense inquiry.”
Blizzard, 698 F.3d at 285. We consider Willard’s argument as one that his termination had no basis in fact and one
that it was not the actual motivation for his termination.
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#487). This was error, and it is magnified by the fact that this was the only one of Willard’s
pretext arguments that the district court considered explicitly in its brief ruling.

        Despite its protestations that there is no factual dispute on this point, Huntington Ford
notes that Willard’s testimony that he was told to return to work after a full week had elapsed “is
inconsistent with the December 21, 2016 Employee Warning Notice, which he refused to sign,
and the Sheriff’s report.” Appellee Br. at 34–35. This inconsistency is precisely the point at
summary judgment. To the extent that Huntington Ford invites us to make witness credibility
determinations, believing the company over Willard, or to weigh the evidence, concluding that
Willard’s testimony is less persuasive than the Notice or three supervisors’ testimonies, we
decline to do so. A nonmoving plaintiff’s opinion testimony is evidence, see Blizzard, 698 F.3d
at 286, and it is for the jury to determine its relative truth and weight.

        Second, Willard offers evidence regarding his return date that indicates his failure to
show up was not the motivation behind his discharge. He testified that Scoggin and Schiller
would not show him a Notice that contained the dates of his suspension, which is consistent with
his theory that the return date of Monday, December 26, 2016, was manufactured by Huntington
Ford. Additionally, it is undisputed that Willard had an “[e]xcellent” attendance record, R. 16-11
(Schiller Dep. at 108–09) (Page ID #252–53), and that he returned to work promptly after his
previous two suspensions. This showing casts further doubt upon Huntington Ford’s explanation
that it terminated Willard in part for his failure to show up for work.

                b. Conduct on December 21, 2016

        First, Willard argues that his suspension for the December 21, 2016 incident had no basis
in fact. Appellant Br. at 25–26. Willard testified that he was not at fault for the incident with
Duley, including that he never yelled, which is corroborated by his statement in the Sheriff’s
Case Report. He also testified that Huntington Ford seized upon this incident to fabricate a
legitimate reason to terminate him. R. 16-2 (Willard Dep. at 107) (Page ID #125). Viewing the
record in the light most favorable to Willard, Duley was at fault for the disagreement on
December 21, 2016 and Willard did not actively participate in the disagreement. Rather, he told
Duley to cease her physical contact with him and submitted to her pushing and shoving. It is
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also disputed whether Willard simply missed Malouf’s desk when he put down the deal jacket or
whether he threw it on purpose to the floor. See R. 16-2 (Willard Dep. at 109–10) (Page ID
#125–26); R. 16-7 (Malouf Dep. at 73) (Page ID #192).

         Second, Willard argues that this incident with Duley did not actually motivate his
discharge. Scoggin did not know whether Willard would have been fired on Monday or Tuesday
if he had showed up for work. R. 16-6 (Scoggin Dep. at 79) (Page ID #163). This demonstrates
that the incident on December 21, 2016, even if sufficient on its own to justify Willard’s
termination, was not the cause for his termination.                 This showing and Willard’s previous
showing regarding his absences together rebut Huntington Ford’s two most prominent asserted
legitimate reasons for Willard’s discharge.11

             c. Previous Disciplinary Conduct

         This leaves only Willard’s previous disciplinary history, and he points to evidence
demonstrating that his previous disciplines did not actually factor into the decision to terminate
him. Willard’s formal disciplinary history is temporally distant from his termination. It is
undisputed that Willard’s last formal discipline occurred nearly four years before, in 2012, his
suspension and termination in 2016. See Vincent v. Brewer Co., 514 F.3d 489, 499 (6th Cir.
2007) (concluding that a five- or six-week delay between the employer’s adverse action and the
last of the employee’s “alleged instances of misconduct” was indicative of pretext in a Title VII
case).    And in the light most favorable to Willard, the 2014 discussion about Willard’s
interactions with support staff was not a formal discipline, but an informal coaching or
conversation. Willard’s formal disciplinary record is thin, considering that it covers more than a
ten-year period.        This evidence demonstrates that Huntington Ford’s final legitimate,
nondiscriminatory reason for terminating Willard was not the real motivation for the discharge.




         11Huntington    Ford invokes the honest-belief rule in passing in its appellate brief, arguing that Willard
cannot show that his suspension for the December 21, 2016 incident and termination the following week lacked a
basis in fact or that Willard’s conduct was insufficient motivation to discharge Willard. Appellee Br. at 33, 36–37.
Huntington Ford forfeited its honest-belief arguments because it did not present them to the district court. Tuttle,
474 F.3d at 319 n.11 (citing Foster v. Barilow, 6 F.3d 405, 407 (6th Cir. 1993)); see also R. 16 (Mot. for Summary
J.); R. 20 (Reply).
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       Huntington Ford argues that Willard had ongoing issues with support staff, Appellee Br.
at 7, 14, but it is undisputed that these instances did not result in formal discipline. Moreover,
Willard testified that any of his interpersonal tiffs, including with Duley, were not beyond
“normal activity.” R. 16-2 (Willard Dep. at 111) (Page ID #126). Crucially, the record shows
that a dealership is a high-anxiety, stressful place to be that at times results in friction among
employees, leading to discussions with management. But there is nothing in the record that
shows that Willard’s interpersonal conduct rose to a disciplinary level, except what actually
resulted in formal discipline.

               d. Other Circumstantial Evidence

       Willard offers two types of circumstantial evidence showing that Huntington Ford’s
proffered reasons for terminating him were pretext for age discrimination. First, he points to the
discriminatory comments, including those about his retirement, the ageist insults, Calhoun’s
statement that Willard was an “over-the-hill” salesman, Schiller’s statement that Willard is “old
and fat,” and Malouf’s comments that Willard was too old to sit at a front desk and a younger
salesperson should sit there. Appellant Br. at 17–21. In Ercegovich, we considered the role of
the speaker, the substance of the comments, and the nexus to the adverse employment action
to determine the probative value of discriminatory statements at the pretext stage. 154 F.3d at
354–56. Under this framework, Willard offers comments that certainly have probative value and
thus serve as additional evidence of pretext.

       All of the statements were made by Willard’s supervisors who participated in the
decision to terminate him. It is undisputed that Schiller played a role in the termination decision,
and there is a factual dispute whether Calhoun and Malouf participated as well. Scoggin testified
that he and Schiller would have gotten “feedback from people that, you know, interacts [sic] with
[Willard] on a regular basis” before terminating him. R. 16-6 (Scoggin Dep. at 83) (Page ID
#164). He also stated that Calhoun and Malouf had “input” in the Employee Warning Notice
that suspended Willard in December 2016, showing that direct supervisors usually had a role in
adverse employment actions regarding their subordinates. Id. at 57–58 (Page ID #158).
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       Additionally, the substance of the statements evinces a strong bias against older workers
and a desire to see Willard leave the dealership due to his age. Every statement, with the
exception of those addressing Willard’s retirement, is either an overtly negative comment about
Willard’s age or an ageist slur. The meaning of comments like “dinosaur,” “grandpa,” and
“over-the-hill” is plain, as is Schiller’s comment that Willard was “old and fat.” Malouf’s
statements about Willard’s desk go even further. The comments not only pointed to Willard’s
age, but also juxtaposed him with younger salespersons and suggested that Willard should take a
less active role as a new-car salesperson, indicating a desire to squeeze Willard out of his
position. As to the retirement comments, only a miniscule inference is required to conclude that
the comments address Willard’s age and express a wish that Willard no longer work at
Huntington Ford.

       Finally, these comments also bear a close connection, or nexus, to Willard’s termination.
Although Willard does not provide a date and time for each of Malouf’s statements about
Willard’s desk, within a week of Malouf’s last statement, Willard was terminated. This timing is
suspicious and suggests that the same ageist bias behind Malouf’s comments was the motivation
behind Willard’s termination. This conclusion is further buttressed by Schiller’s response to
Willard’s complaints about Malouf’s comments, that Willard should stop picking up new
customers. And though Willard testified only that the other ageist insults and slurs were made
on a regular basis, “[c]ircumstantial evidence establishing the existence of a discriminatory
atmosphere at the defendant’s workplace . . . may serve as circumstantial evidence of
individualized discrimination directed at the plaintiff.” Ercegovich, 154 F.3d at 356. This is
especially so when these discriminatory statements “reflect a cumulative managerial” bias. Id.
These insults show that Schiller, Calhoun, and Malouf, all managers, “harbor[ed] a bias against
older workers.” Id. at 355. Viewed in the light most favorable to Willard, these comments
demonstrate a discriminatory attitude toward Willard and a desire that Willard should leave
Huntington Ford. At the least, only small inferences are required to conclude that the statements
evinced a desire to see Willard leave the dealership because of his age. See id. (“[T]he absence
of a direct nexus does not necessarily render a discriminatory remark irrelevant.”).
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         Second, Willard points to four discriminatory incidents: Willard’s replacement with
Dewitt, Calhoun’s preferential treatment of younger salespersons, the jersey incident, and
Brani’s assignment to Willard’s desk after his termination. Dewitt’s hiring and Calhoun’s
conduct form the basis of Willard’s prima facie case, so we need not restate those details here.
As for the other instances, each has been discussed once before, so we recount them only briefly.
Huntington Ford does not dispute, nor can it based on the record, that the incident with the
basketball jersey involving Schiller occurred, or that it culminated in Schiller taking Willard’s
picture in the jersey, mocking him with it, and using it as a model for a caricature of a young
collegiate basketball player. It is also undisputed that Brani, a younger salesperson, was placed
at Willard’s desk after Willard was terminated within roughly a month of Malouf’s statements
about the desk. Along with the discriminatory statements, these incidents, taking Willard’s
evidence as true, demonstrate a discriminatory atmosphere based on age and that this bias was
frequently directed at Willard by his supervisors.

                                                 *

         There are genuine issues of material fact regarding pretext that preclude summary
judgment. Viewing the facts in the light most favorable to Willard, including evidence in
support of his prima facie case, evidence offered to demonstrate pretext—some of which is
uncontroverted—and other circumstantial evidence, a reasonable jury could conclude that
Huntington Ford did not fire him for the proffered reasons and that Willard has met his burden of
persuasion to demonstrate his age was the but-for cause of his termination. Pretext in this case
reduces to two questions: first, which party should be believed—Willard or his employer; and
second, which type of evidence is more believable—documents or testimony. Our resolution of
these issues is straight-forward: We do not make credibility determinations, nor do we weigh the
evidence. Accordingly, Willard has met his burden to defeat summary judgment on his ADEA
claim.

B. ELCRA Claim

         Like the ADEA, the ELCRA prohibits employers from “discharg[ing] . . . an individual
with respect to employment . . . because of . . . age.”      MICH. COMP. LAWS § 37.2202(a).
Case 2:17-cv-14202-GAD-EAS ECF No. 27,
            Case: 19-1763 Document:    PageID.513
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Generally, we have analyzed age-discrimination claims under the ELCRA like ADEA claims.
See, e.g., Blair, 505 F.3d at 523 (citing cases). However, the parties dispute the appropriate
causation standard.   Willard argues that the proper standard for age-discrimination claims
brought under the ELCRA is whether the defendant’s discriminatory age bias was a “substantial”
or “motivating” factor in the adverse employment decision. Appellant Br. at 14. Huntington
Ford urges that the proper standard for causation is the ADEA’s but-for standard from Gross.
Appellee Br. at 19. We need not decide which standard to apply because we have concluded that
Willard’s claim meets the more demanding but-for standard.

                                      IV. CONCLUSION

       For these reasons, we REVERSE the judgment of the district court and REMAND for
proceedings consistent with this opinion.
Case 2:17-cv-14202-GAD-EAS  ECF No. 27,
             Case: 19-1763 Document:    PageID.514
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                                 UNITED STATES COURT OF APPEALS
                                      FOR THE SIXTH CIRCUIT

                                              No. 19-1763


 DENNIS J. WILLARD,
        Plaintiff - Appellant,                                                     FILED
                                                                                Mar 11, 2020
        v.
                                                                            DEBORAH S. HUNT, Clerk
 HUNTINGTON FORD, INC.,
        Defendant - Appellee.



                     Before: MOORE, KETHLEDGE, and BUSH, Circuit Judges.

                                         JUDGMENT
                            On Appeal from the United States District Court
                             for the Eastern District of Michigan at Detroit.

        THIS CAUSE was heard on the record from the district court and was submitted on the briefs
without oral argument.

     IN CONSIDERATION THEREOF, it is ORDERED that the judgment of the district court is
REVERSED and REMANDED for proceedings consistent with the opinion of this court.

                                                ENTERED BY ORDER OF THE COURT




                                                Deborah S. Hunt, Clerk
